  Case 18-26071       Doc 32   Filed 01/29/19 Entered 02/01/19 08:38:23              Desc Main
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                           UNITED STATES BANKRUPTCY COURT
                            NORTHERN DISTRICT OF ILLINOIS
                                      Eastern Division

In Re:                                        )               BK No.:     18-26071
Cettie Ann Smith                              )
                                              )               Chapter: 13
                                              )
                                                              Honorable A. Benjamin Goldgar
                                              )
                                              )
               Debtor(s)                      )

                                        Order Confirming Plan

         The plan under Chapter 13 of the Bankruptcy code, filed as docket No. 21, having been found
by the Court to comply with the provisions of the 11 U.S.C. section 1325, THE PLAN IS HEREBY
CONFIRMED.

All property of the estate, as specified by the 11 U.S.C. section 541 and 1306, will continue to be
property of the estate following confirmation, unless (1) the plan provides for surrender of the property,
or (2) the property is sold pursuant to the plan or court order.




                                                           Enter:


                                                                    Honorable A. Benjamin Goldgar
Dated: January 29, 2019                                             United States Bankruptcy Judge
